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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

IN RE:                              )
                                    )     CASE NO. 13 B 20377
REBBIE J. FOSTER,                   )     HONORABLE DONALD R. CASSLING
                                    )     CHAPTER 13
                                    )
            Debtor                  )
_____________________________________________________________________________
                                    )
                                    )
REBBIE J. FOSTER,                   )
                                    )
Plaintiff,                          )
                                    )
Vs.                                 )     Adv. No 19-
                                    )
CALIBER HOME LOANS INC.,            )
                                    )
RUSHMORE LOAN MANAGEMENT            )
SERVICES LLC.,                      )
                                    )
DLJ MORTGAGE CAPITAL INC.,          )
                                    )
SELECT PORTFOLIO SERVICING, INC., )
                                    )
Defendants,                         )
                                    )



                                  ADVERSARY COMPLAINT

                                            Introduction

         All noticed parties must comply with the court’s order. Noticed parties who fail to

comply with a court’s order must be sanctioned. This is an action to enforce the court’s June 14,

2018, order requiring the defendants (Banks or Defendants) to file responses to the notice of final

cure payment filed by plaintiff (Ms. Foster). The Banks have failed to comply with this court’s

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order. Ms. Foster seeks monetary, declaratory, and injunctive relief based on the Banks failure

to comply.

                                                Jurisdiction

       1.      Jurisdiction is conferred on this court pursuant to provisions of § 1334 of Title 28

               of the United States Code and is related to the above captioned Chapter 13 case,

               under Title 11, and concerns property of the plaintiff in this case.

       2.      The court has both personal and subject matter jurisdiction to hear this case

               pursuant to section 1334 of Title 28 of the United States Code, section 157(b)(2)

               of Title 28 of the United States Code.

       3.      This court has supplemental jurisdiction to hear all state law claims pursuant to §

               1367 of Title 28 of the United States Code.

       4.      Venue lies in this District pursuant to § 1391 (b) of Title 28 of the United States

               Code.

       5.      This is an adversarial action under bankruptcy rule 7001(7).

       6.      This matter is primarily a core proceeding as that term is defined by section

               157(b)(2) of Title 28 of the United States Code, in that it concerns claims and

               matters arising out of the administration of a bankruptcy case and rights duly

               established under Title 11 of the United States Code, and other applicable federal

               law.

       7.      This matter is primarily a core proceeding and the bankruptcy court has

               jurisdiction to enter a final order. In the event this case is determined to be a non-

               core proceeding, plaintiff consents to the entry of a final order by the bankruptcy

               court.



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   8.    The court may issue any order, process, or judgment necessary or appropriate to

         carry out provisions of this title under 11 United States Code § 105(a).



                                            Parties

    9.   Ms. Foster is a debtor defined at 15 U.S.C. § 109(a). The debt allegedly owed

         was incurred for personal, family, or household purposes and was not for business

         purposes.

   10.   Caliber Home Loans Inc., (Caliber) is a corporate entity, doing business in the

         State of Illinois, County of Cook. Caliber is a residential mortgage lender or

         servicer with its principal place of business in Texas.

   11.   As of May 22, 2018, Caliber was in good standing as a corporation in the State of

         Illinois.

   12.   Rushmore Loan Management Services, LLC., (Rushmore) is a corporate entity,

         doing business in the State of Illinois, County of Cook. Rushmore is a residential

         mortgage servicer with its principal place of business in California.

   13.   As of June 19, 2018, Rushmore was in good standing as a corporation in the State

         of Illinois.

   14.   DLJ Mortgage Capital, Inc., (DLJ), is a corporate entity, doing business in the

         State of Illinois, County of Cook. DLJ is a mortgage lender with its principal

         place of business in New York.

   15.   As of July 27, 2018, DLJ was active and in good standing as a corporation in the

         State of Illinois.




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   16.     Select Portfolio Servicing, Inc., (SPS) is a corporate entity, doing business in the

          State of Illinois, County of Cook. SPS is a mortgage servicer with its principal

          place of business in Utah.

   17.    As of March 30, 2018, SPS was active and in good standing as a corporation in

          the State of Illinois.

   18.    In February of 2019, Ditech Financial LLC., FDBA Green Tree Servicing, LLC.,

          filed for chapter 11 bankruptcy relief.

                             Initial Bankruptcy Factual Allegations

   19.     Ms. Foster filed for chapter 13 relief on May 14, 2013. (ECF No.1).

   20.    Included in the chapter 13 case was a debt secured by Ms. Foster’s principal

   residence owed to DLJ Mortgage Capital Inc., serviced by Green Tree Servicing, LLC.

   21.    Ms. Foster’s principal residence is located at 16436 Oxford Drive, Markham,

   Illinois 60428.

   22.    The amended chapter 13 model plan called for Green Tree Servicing, LLC., to be

   paid in full during the plan term. The total claim in the plan was $83,867.00. “Exhibit

   A”.

   23.    On August 22, 2013 the honorable Judge Janet S. Baer entered an order of

   confirmation of Ms. Foster’s amended chapter 13 model plan. “Exhibit B”.

   24.    On May 31, 2013, Green Tree Servicing, LLC., filed proof of claim number 2-1

   in the amount of $76,911.59. “Exhibit C”.




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   25.    On July 30, 2013, Green Tree Servicing, LLC., transferred designated claim

   number 2-1 in the amount of $76,911.59 to CFSB Special Servicing, serviced by Select

   Portfolio Servicing, Inc. “Exhibit D”.

   26.    On September 20, 2013, another proof of claim, number 5-1 was filed on behalf

   of DLJ Mortgage Capital Inc. in the amount of $72,709.05. Select Portfolio Servicing,

   Inc. was the servicer for lender DLJ Mortgage Capital Inc. A representative for Select

   Portfolio Servicing, Inc. filed the proof of claim. “Exhibit E”.

   27.    Proof of claim number 5-1 was withdrawn on October 31, 2013 by DLJ Mortgage

   Capital Inc. Error was the written reason for withdrawal of proof of claim number 5-1.

   “Exhibit F”.

   28.    DLJ Mortgage Capital Inc. continued to file mortgage related documents with the

   bankruptcy clerk of under claim number 5-1. An example is the notice of mortgage

   payment change filed on behalf of DLJ Mortgage Capital Inc., on August 11, 2015.

   “Exhibit G”.

   29.    On January 12th, 2017, Select Portfolio Servicing, Inc. as servicer for DLJ

   Mortgage Capital Inc., transferred claim number 5-1 to U.S. Bank Trust, N.A., as Trustee

   for LSF9 Master Participation Trust. The amount of the claim was $72,709.05. The

   servicer for U.S. Bank Trust, N.A., was Caliber Home Loans, Inc. “Exhibit H”.

   30.    Chapter 13 trustee, Tom Vaughn, paid the entire amount under proof of claim

   number 2-1. The chapter 13 trustee paid various amounts to Caliber Home Loans, Inc.,

   DLJ Mortgage Capital Inc., Select Portfolio Servicing, Inc., and Green Tree Servicing,

   LLC. “Exhibit I”.


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   31.    A notice of final cure payment, under bankruptcy rule 3002.1(f), form B410 aka

   4100(N), was not filed within thirty days after completion of Ms. Foster’s plan payments

   to the chapter 13 trustee.

   32.    Ms. Foster received a discharge on February 27, 2017. (ECF No. 50).

   33.    The chapter 13 bankruptcy was closed on April 10, 2017. (ECF No. 53).

   34.    Caliber Home Loans Inc. as servicer for U.S. Bank Trust, N.A., as Trustee for

   LSF9 Master Participation Trust, transferred the alleged mortgage claim to J.P. Morgan

   Mortgage Acquisition Corp., serviced by Rushmore Loan Management Services LLC.

   after the bankruptcy case was closed. The transfer of the alleged claim occurred on June

   13, 2017. The transfer of claim happened after the chapter 13 trustee paid the entire

   mortgage balance. Caliber received substantial monies from the chapter 13 trustee during

   Ms. Foster’s case. “Exhibit J”.

   35.    After the discharge order was entered, Ms. Foster received numerous mortgage

   statement collection letters from Rushmore. “Exhibit K”.

   36.    Ms. Foster became physically and emotionally distressed upon receiving the

   mortgage statement collection letters. The emotional distress of receiving the collection

   statements caused Ms. Foster to grind her teeth to the point of requiring a crown to be

   replaced many times.

   37.    In November of 2017, Ms. Foster received a mortgage statement collection letter

   indicating a suspension of statements and notice of charge off. The mortgage statement

   letter was sent by Rushmore Loan Management Services, LLC. “Exhibit L”.



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                   Factual Allegations After Court Order Of March 22, 2018

   38.    On March 22, 2018, this court entered an order reopening Ms. Foster’s chapter 13

   case and allowed the debtor to file a final cure payment. The order required Rushmore

   Loan Management Services, LLC. and Caliber Home Loans Inc. to file responses to the

   notice of final cure payment, form B410A aka 4100(R). (ECF No. 56). On March 30,

   2018, Ms. Foster’s counsel electronically filed a notice of final cure payment, form

   4100N. The names of the mortgage creditors on the 4100N form were Caliber Home

   Loans Inc. and Rushmore Loan Management Services, LLC. The court claim number on

   the final cure document mistakenly was 5-1. “Exhibit M”.

   39.    Caliber did not file an objection or response to the court ordered final cure

   payment requirement entered on March 22, 2018.

   40.    Rushmore did not file an objection or response to the court ordered final cure

   payment requirement entered on March 22, 2018.

   41.    On April 20, 2018, U.S. Bank Trust, N.A. as Trustee for LSF9 Master

   Participation Trust filed a response to notice of final cure payment, form 4100(R). The

   response attached filed proof of claim 2-1 as an exhibit. Proof of claim number 2-1 was

   paid in full by the chapter 13 trustee, Tom Vaughn. The response stated the creditor

   disagreed the debtor(s) had paid in full the amount required to cure the prepetition default

   on the creditors claim. The creditor asserted the total amount remaining unpaid as of the

   date of the response was $72,709.05. Additionally, the creditor stated the debtor(s) are

   not current on all post-petition payments consistent with § 1322(b)(5) of the bankruptcy

   code, including all fees, charges, expenses, escrow, and costs. The creditor asserted


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   claim number 5-1 was withdrawn on October 31, 2013 and the total amount due is

   $72,709.05. “Exhibit N”.

   42.    Ms. Foster paid the entire claim of the mortgage during the bankruptcy case. She

   became extremely nervous, isolated, distressed, and anxious upon learning U.S. Bank

   Trust, N.A. as Trustee for LSF9 Master Participation Trust filed a response to notice of

   final cure payment stating the mortgage had not been paid in full.

   43.    U.S. Bank N.A.’s mortgage trust servicer was Caliber Home Loans Inc. Caliber

   was specifically paid various monies by the chapter 13 trustee Tom Vaughn under claim

   2-1 during the bankruptcy case. Although Ms. Foster’s final cure payment form

   mistakenly referenced claim number 5-1, U.S. Bank N.A. knew or should have known

   Caliber Home Loans Inc., as servicer of the Trust, was paid by the chapter 13 trustee.

   44.    U.S. Bank N.A.’s filed response to Ms. Foster’s notice of final cure attached proof

   of claim number 2-1 as an exhibit. The attached proof of claim was referred to as a basis

   for Ms. Foster allegedly owing debt on the principal residence. Claim 2-1 had already

   been paid in full by the chapter 13 trustee.

   45.    As required by this court’s order, Caliber and Rushmore did not file a response to

   Ms. Foster’s notice of final cure payment form B410A aka 4100(R).

   46.    Ms. Foster experienced extreme anxiety and isolation when advised the banks

   failed to respond to the court ordered notice of final cure payment.

   47.    The chapter 13 bankruptcy was again closed on April 23, 2018. (ECF No. 58).




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                    Factual Allegations After Court Order Of June 14, 2018

   48.    On June 14, 2018, this court entered an order reopening Ms. Foster’s chapter 13

   case and allowed the debtor to file a final cure payment. The order required each and

   individually, U.S. Bank Trust, N.A., as Trustee, for LSF9 Master Participation Trust,

   Caliber Home Loans Inc., DLJ Mortgage Capital Inc., Select Portfolio Servicing, Inc.,

   Green Tree Servicing, LLC., Rushmore Loan Management Services LLC., and J.P.

   Morgan Mortgage Acquisition Corp. to file responses to the notice of final cure payment,

   form B410(A) aka 4100(R), within twenty-one days after service of the notice according

   to subdivision 3002.1(g). ECF No. 62.

   49.     On June 27, 2018, Ms. Foster’s counsel electronically filed a notice of final cure

   payment, form 4100(N). The names of the mortgage creditors on the 4100(N) form were

   U.S. Bank Trust, N.A., as Trustee, for LSF9 Master Participation Trust and others

   included in the June 14, 2018 bankruptcy court order, ECF No. 62. “Exhibit O”.

   50.    Proof of service for the electronically filed notice of final cure payment was made

   on July 3, 2018. ECF No. 64.

   51.    Ms. Foster’s counsel sent certified mail notice of final cure payment and this

   court’s order reopening the bankruptcy to the banks. “Exhibit P”.

   52.    Caliber, Rushmore, DLJ, SPS, and Ditech did not file objections to the court

   ordered final cure payment response requirement.

   53.    On July 18, 2018 U.S. Bank Trust, N.A. as Trustee for LSF9 Master Participation

   Trust filed a response to notice of final cure payment, form 4100(R). The creditor agreed



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   Ms. Foster was current and had paid in full the amount required to cure the petition

   default on the creditor’s claim. “Exhibit Q”.

   54.    On July 18, 2018, JP Mortgage Acquisition Corporation filed a notice of final

   cure payment form 4100(R). The creditor agreed Ms. Foster was current and had paid in

   full the amount required to cure the petition default on the creditor’s claim. “Exhibit R”.

   55.    On February 14, 2018, First American Title Insurance Company filed a

   satisfaction of mortgage document with the Cook County Recorder of Deeds office. The

   document was signed by Jared Kops, a vice president of Rushmore Loan Management

   Services LLC, servicing agent on behalf of J.P. Morgan Acquisition Corporation and

   successor in interest to U.S. Bank Trust, N.A., as Trustee for LSF9 Master Participation

   Trust. “Exhibit S”.

   56.    As required by this court’s order, Caliber Home Loans Inc., DLJ Mortgage

   Capital Inc., Select Portfolio Servicing, Inc., Ditech, and Rushmore Loan Management

   Services, LLC., did not file individual responses to Foster’s notice of final cure payment

   form B410(A) aka 4100(R).

   57.    The chapter 13 bankruptcy was closed on July 25, 2018. ECF No. 65.

   58.    The failure of the Banks to file the court ordered notice of final cure payment

   responses, form B410A aka 4100(R) has caused Ms. Foster to have constant anxieties

   and distress the Banks will resume attempts to collect the alleged debt.

   59.     The voluntary choice to violate this court’s specific order and other bankruptcy

   laws constitutes civil contempt.



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   60.       The Banks are sophisticated financial creditors with knowledge of state, federal,

   and bankruptcy rules and procedures. This further justifies the necessity for the award of

   equitable sanctions in this case.

   61.       Under 11 U.S.C. § 105, the court may regulate the conduct of any person or party

   appearing before the court. The court may enter any order, process, or judgment that is

   necessary or appropriate to carry out the provisions of the bankruptcy code.

                                       Causes of Action

        Count 1. – Contempt and Sanctions for Violation of the Court’s June 14, 2018 Order.

   62.       The foregoing allegations and exhibits of this complaint are re-alleged and

   incorporated by reference.

   63.       On June 14, 2018 the court ordered each individual bank to file responses to Ms.

   Foster’s notice of final cure payment form 4100(R) within twenty-one days after service

   of the notice according to subdivision 3002.1(G).

   64.       Proof of service for the electronically filed notice of final cure payment was made

   on July 3, 2018. ECF No. 64.

   65.       Ms. Foster’s counsel sent certified mail notice of final cure payment and this

   court’s order reopening the bankruptcy to the banks.

   66.       The noticed banks have voluntarily chosen to violate this court’s order and other

   bankruptcy rules by failing to comply.

             WHEREFORE, Ms. Foster respectfully prays this Court to award judgment

   against the defendants as follows:

   a.        The defendants be required to file the court ordered notice of final cure payment

             response, form B410A aka 4100(R).

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   b.     The defendants be found in contempt for the deliberate failure to file the court

          ordered notice of final cure payment response form B410 aka 4100(R).

   c.     for an award of costs with expenses of litigation and reasonable attorneys’ fees

          and

   d.     for such other and further relief as the Court may deem just and proper.

                       Count 2. – Violation of Bankruptcy Rule 3002.1(g)

   67.    The foregoing allegations of this complaint are re-alleged and incorporated herein

   by reference.

   68.    Bankruptcy rule 3002.1(g) states in part, “Within twenty-one days after service of

   the notice under this rule, the holder shall file and serve on the debtor, debtor’s counsel,

   and the trustee a statement indicating (1) whether it agrees the debtor has paid in full the

   amount required to cure the default on the claim and (2) whether the debtor is otherwise

   current on all payments consistent with 1322(b)(5) of the bankruptcy code.”

   69.    On June 27, 2018, Ms. Foster’s counsel electronically filed a notice of final cure

   payment, form 4100(N). The names of mortgage creditors on the 4100(N) form were

   U.S. Bank Trust, N.A., as Trustee, for LSF9 Master Participation Trust and others

   included in the June 14, 2018 bankruptcy court order, ECF No. 62.

   70.    Ms. Foster’s counsel sent certified mail notice of final cure payment and this

   court’s order reopening the bankruptcy to the banks.

   71.    Bankruptcy rule 3002.1(i)(2) provides remedies for the failure of a claim holder

   to provide a response to the notice of final cure payment. If the holder of a claim fails to

   provide any information required by statute, the court may after notice and a




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       hearing, award other appropriate relief, including reasonable expenses and attorney’s fees

       caused by the failure.

       72.    Caliber Home Loans Inc., DLJ Mortgage Capital Inc., Select Portfolio Servicing,

       Inc., and Rushmore Loan Management Services, LLC., have chosen not to file individual

       responses to Ms. Foster’s notice of final cure payment form B410(A) aka 4100(R).

       73.    The noticed banks willfully decided not to file the specific required court ordered

       final cure payment responses.

              WHEREFORE, Ms. Foster respectfully prays this Court to award judgment

       against the defendants as follows:

       a.     The defendants be required to file the court ordered notice of final cure payment

              response, form B410A aka 4100(R).

       b.     for an award of costs with expenses of litigation and reasonable attorneys’ fees

              and

       c.     for such other and further relief as the Court may deem just and proper.



       Respectfully submitted,




/s/ Anthony Kudron

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